 

Case: 1:18-cv-O4821 Document #: 14 Filed: 08/14/18 Page 1 of 32 Page|D #:432 \`\j~'\

lN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

CARLETON B. SYPH II,

Plainti# ) Case No: 1:18-cv-04821

v. ) Judge Mathew F. Kennelly

JUDGE EDWARD A. ARCE, ) Magistrate Judge M. David Weisman
JUDGE JOHN THOMAS CARR, )
MICHELLE DWORAK of )
Wornen’s Divorce & F amin Law Group F l L E D
by Haid and Teich LLP, )

Defendanls )/AUG 1 4 2018

THOMAS G. BRUTON
CLERK, U.S. D|STR|CT COURT

MOTION TO APPROVE ALTERNATIVE SERVICE
NOW COMES Plaintiff, Carleton B. Syph II and his MOTION TO APPROVE ALTERNATIVE

SERVICE pursuant to FRCP 4(e)(1) , alleges, states, and avers:

Statement of Relevant Facts

1. On 7/13/2018, a Complaint for Declaratory and lnjunctive Relief was filed, and summons

issued for the following defendants who can be found at the corresponding addresses

JUDGE EDWARD A. ARCE
Circuit Court of Cook County
50 W. Washington St., Rm. 2002 Chicago, Illinois 60602

JUDGE JOHN THOMAS CARR
Circuit Court of Cook County
50 W. Washington St., Rm. 1608 Chicago, Illinois 60602

MICHELLE DWORAK

WOMEN’S DIVORCE AND FAMILY
LAW GROUP by HAID & TEICH LLP
233 S. Wacker Dr 84TH FLOOR
CHICAGO, IL 60606

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2. On 7/16/2018, Carleton B. Syph II retained, MSI Detective Services License # 117-000206
to serve the aforementioned summons. After doing so MSI Detective Service informed
Carleton B. Syph II, they were unable to serve summons without being added as a Special
Process Server by court order. (See Exhibits A “MSI Documents”)

3. On 7/26/2018 Carleton B. Syph II appeared in front of Judge Edward A. Arce wherein

which he asked for a Special Process Server to be assigned, who responded:

“Oh I don ’t do that for you. The judge that ’s assigned to that case is going to
do that. ” (See Exhibit B “7/26/ l 8 Transcript excerpt”)

4. On 7/30/2018, A motion to Amend the Complaint for Declaratorv and Iniunctive Relief,
the corresponding Amended Complaint for Declaratorv and Junctive Relief, AND a
Motion for Special Process Server was filed with the clerk’s office of Norther District of
Illinois wherein which an 8/2/2018 court date was set to hear the motions. The Notice of
Motions and proof of delivery are included. (See Exhibit C “Notice and Proof of Delivery)
The Motion for Special Process referred cited ( 735 ILCS 5/2-202)(a-5) to be the
presumptive reason for why:

MSI Detective Services
License # 117-00()206

Would not serve the summons without a court order.

5. On 7/31/2018 Judge Mathew F. Kennelly GRANTED Motion to Amend the Complaint
for Declaratorv and Iniunctive Relief and DENIED Motion for Special Process Server.
The Honorable Mathew F. Kennelly referred to Rule 4(2)(c) By Whom. Any person who is
at least 18 years old and not a party may serve a summons and complaint. To support that

request for Special Process Server is/was a moot point in the federal courts.

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6. On 8/2/2018 the Motion for Special Process Server and Judge Mathew F. Kennelly’s
corresponding order was emailed to representatives at MSI Detective Services. (See
Exhibit D “Email to MSI”)

7. On 8/3/2018 representatives at MSI Detective Services was successful at serving the
summons on the following defendants by leaving them with authorized agents. (See

Exhibit E “MSI Affidavit”)

JUDGE EDWARD A. ARCE
Circuit Court of Cook County
50 W. Washington St., Rm. 2002 Chicago, |||inois 60602

JUDGE JOHN THOMAS CARR
Circuit Court of Cook County
50 W. Washington St., Rm. 1608 Chicago, ||linois 60602

Servicer was denied access to serve the following defendant on 8/3/2018 and then again

on 8/6/2018. (See Exhibit E “MSI Affidavit”)

MICHELLE DWORAK

WOMEN’S DIVORCE AND FAMILY
LAW GROUP by HAID & TEICH LLP
233 S. Wacker Dr 84TH FLOOR
CHICAGO, IL 60606

ARGUMENT

8. It’s is argued as indicated in Judge Mathew F. Kennelly’s 7/31/2018 order that FRCP

Rule 4(c)(2) allows for:

Any person who is at least 18 years old and not a party may serve a summons
and complaint

9. Furthermore, it is asserted that (735 ILCS 5/2-202)(b) explains that:

Summons may be served upon the defendants wherever they may be found in
the State, by any person authorized to serve process.

 

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10. That said, what’s outlined in the third section of MSI’s affidavit, i`s but more of the same

type of blatant disregard for federal, state statues and professional conduct standards
exhibit by Women’s Divorce & Family Law Group by Haid and Teich LLP and other
counsels in case 12D009167; albeit in a different form. Here they violate (720 ILCS
5/31-3) 1 and 18 U.S. Code § 1501 2 to avoid/interfere with a summon being served;
before they've presented, participated in presenting, or threatened to present criminal
disciplinary action aimed at intimidating Carleton B. Syph II from continuing with his

right to litigate the merits of the case as can be seen below. 3

7/28/2017 Transcri o ts v

    
 

 

We are asking

  
   

       

for commitment, Judge. We're asking for him to be

    

  

He has made virtually no Sincere good §

  
 
 

put into jail.

  
   

faith effort to make payments on that.

9/118/207 Transcri o ts

 

18 MIR. HAID: So, Judge, we are asking for

   
    

19 Mr. Syph to be taken into custody to go through --

      

' 20 starting with the order of July 28“, 2017. I think

 

1 (735 |LCS 5/2-202)(b) Summons may be served upon the defendants wherever they may be found in the

State, by any person authorized to serve process.

(720 |LCS 5/31-3) Obstructing service of process. Whoever knowingly resists or obstructs the authorized

service or execution of any civil or criminal process or order of any court commits a Class B misdemeanor.

2 18 U.S. Code § 1501 Whoever knowingly and willfully obstructs, resists, or opposes any officer of

the United States, or other person duly authorized, in serving, or attempting to serve or execute, any legal or

judicial writ or process of any court of the United States, or United States magistrate judge...$ha||, except as
otherwise provided by law, be fined under this title or imprisoned not more than one year, or both.

3 |l|inois Professional Conduct Standards RULE 8.4: lt is professional misconduct for a lawyer to: (g)
present, participate in presenting, or threaten to present criminal or professional disciplinary charges to
obtain an advantage in a civil matter.

 

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11. For the reasons in the three proceeding paragraphs it’s reiterated as argued that the
individuals or entities mentioned in MSI’s affidavit; who participated in preventing the
Summons from being served on MICHELLE DWORAK are in violation of (720 ILCS y
5/31-3) 4 and 18 U.S. Code § 1501 5.

12. However, because MSI’s affidavits do not specifically name individuals or entities who
interfered with serving defendant MICHELLE DWORAK who “willfully and
intentionally engaged in a course of conduct calculated to evade service of process”; we
ask this court in accordance with FRCP 4(e)(1) and 735 ILCS 5/2- 203.1 to enter an
order directing a comparable method of service; which will effectuate due process by
serving the summons, or, more clearly highlight the intentions of both the defendant and
entities to obstruct justice.

13. It’s important to conclude here:

a. The notice required by due process is that which is “ reasonably calculated
under all the circumstances to apprise interested parties of the pendency of the

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action and ajj”ord then an opportunity to present their objections ’ Rosewell v.
Chicago Title & Trust Co., 99 Ill.Zd 407, 411, 76 Ill.Dec. 831, 459 N.E.Zd 966
( 1984 ), quoting Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306,

314-15, 70 S.Ct. 652, 657, 94 L.Ed. 865, 873 (1950).

 

4 (735 |LCS 5/2~202)(b) Summons may be served upon the defendants wherever they may be found in the
State, by any person authorized to serve process.

(720 |LCS 5/31-3) Obstructing service of process. Whoever knowingly resists or obstructs the authorized
service or execution of any civil or criminal process or order of any court commits a Class B misdemeanor.

5 18 U.S. Code § 1501 Whoever knowingly and willfully obstructs, resists, or opposes any officer of
the United States, or other person duly authorized, in serving, or attempting to serve or execute, any legal or
judicial writ or process of any court of the United States, or United States magistrate judge...Shal|, except as
otherwise provided by law, be fined under this title or imprisoned not more than one year, or both.

 

 

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b. Courts do not favor those who seek to evade service of summons Edward Hines

Lumber Co. v. Smith, 29 Ill.App.Zd 35, 42, 172 N.E.Zd 429 (1961).

WHEREFOR WE ASK

I. The court to enter an order directing the Marshal to serve the summons on
JOSHUA HAID, MICHELLE DWORAK or any other agent located at and/or
authorized to receive mail for attorneys located at:

Women’s Divorce & Family Law Group by Haid and Teich LLP
233 S. Wacker Drive, 84th Floor,
Chicago, lL 60606

II. We ask that the court to grant permission for waiver of the prepayment of fees
and cost for United States Marshal Service

III. Award such other and further relief as the Court deems just and proper.

Name Under the penalties as provided by law pursuant to Section 5/1-109 of the Code of Civil
Procedure, the undersigned certifies that the statements set forth in this instrument are true and
correct, except as to matters therein stated to be on information and belief and as to such matters

the undersigned certifies as aforesaid that she/he verily believes the same to be true.

Respectfully submitted by,
CARLETON B. SYPH ll

 

Pro se Plaintiff

l ' Case: 1:18-cv-O4821 Document #: 14 Filed: 08/14/18 Page 7 of 32 PagelD #:438 l

Date: 8 14 2018

Carleton B. Syph II

848 Dodge Ave #426

Evanston, IL 60202

Telephone 224-725-0765

Email: greenerlaundry@gmail.com

 

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Exhibits A

“MSI Documents”

 

 

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*l expiration date¢'z ;? , security code on back of card ___ _

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I understand that MSI Detective Services/ Myers Service, Inc. will charge my credit card
for se ice of process l also understand that MSI Detective Services does not guarantee results from its
process service, and will make up to 3 attempts

l will be using the following credit card:

515/faster Card ij Visa Cl Discover 13 American Express

if I cancel my request for services, I agree to allow Mycrs Service, lnc. to deduct §75.00 from any unused
balance l may have. If a credit from Myers Service, lnc. is appli d to my card, l understand that my
account is subject to a fee of 3% of the amount credited

 
  
 

Under penalty of fraud charges:
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Please complete, sign and initial, and fax back to (773) 614-6620, or e-mail to
nerdisa@detectiveservices.com. Thank you!

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UNITED STATES DISTRICT CoURT

Northem District of illinois

Carleton B. Syph Il

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\». ) Judge Matthew F_ Kennelly
Judge Edward A_ Am ; Magistrate Judge M. David Weisman
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SUMMONS lN A ClVlL ACTlON

To: (Defendam `.r name and addrest

Judge Edward A. Arce
Daley Center
50 W. Washington St., Rm. 2002
Chicago, Illinois 60602
(312) 603-5913
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) j- or 60 days if you
are thc United States or a United States agency. or an officer or employee of thc United States described m Fed, R. Civ.
P, l2 (a)(Z) or (3) -~ you must serve on the plaintiff an answer to the attached complaint or a motion under Rulc l2 of

thc chcral Rules of Civil Procedure. The answer or motion must be served on thc plaintiff or plaintiffs attomey.
whose name and address are:

Carleton B. Syph Il
848 Dodge Ave #426

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lf you fail to respond judgment by default will be entered against you for the relief demanded in thc complaint
You also must file your answer or motion with the court

CLERK UF COURT

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Judge wm Thomas Cm § Magistiate Judge M. David Weisman
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SUMMONS IN A ClVlL ACT|ON

TOZ (D</'endunl '.r name and addrer.t)

Judge John Thomas Carr
Daley Center
50 W. Wt\shington St., Rm. 1608
Chicago, lllinois 60602
(312) 603-5913
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) j- or 60 days if you
are the United States or a United States agency. or an officer or employee of thc United States described m Fed. R. Civ.
P. 12 (a)(z) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion.under Rulc 12 of
the Fedcral Rules of Civil Procedure. The answer or motion must bc served on the plaintiff or plaintiffs attomey.
whose name and address are:

Carleton B. Syph II
848 Dodge Ave #426

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lf you fail to respond. judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court

CLERK OF COURT
Date; JUL \ 3 2018

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UNITED STATES DlSTRICT CoURT

for the
Nonhem District of illinois

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Michelle Dworak z Mag\$ffate Judge M Dav‘d
Women’s Divorce & Family Law Group )
by Haid and Teich LLP 1
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SUMMONS lN A CIVIL ACTl()N

TO: (Dg{é'nda)rl '.t name and addre.r.w)

Micbelle Dworak
Women’s Divorce & Family Law Group by Haid and Teich LLP
233 S. Wacker Drive, 84th Floor
Chicago, IL 60606
A lawsuit has been filed against you.
Within 21 days after service of this summons on you (not counting the day you received it) j or_ 60_days if you
are the United States or a United States agency. or an officer or employee of the United States described in Ped. R. Civ.
P. 12 (a)(2) or (3) -- you must serve on the plaintiff an answer to the attached complaint or a motion under Rulc 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomcy.
whose name and address are:

Carleton B. Syph II
848 Dodge Ave #426

him
Mme‘mnf /c doloz,

lf you fail to respond. judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court

CLERK OF COURT

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Exhibit B

“7/26/ 18 Transcript excerpt”

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21 MR. SYPH: Lastly, Judqe, l just had a request. 13

22 there anyway that you can grant mo an order assigning a
23 Special Service process Server to file a Summons.

24 Apparentiy there‘$ Somc type cf law within Cook County

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that prevents Summons from being Served upon any party
without an order from the Court unless, of course, the
sheriff does it, but in this instance I'm using a

private service processor. So they asked mo to ask you

if I could get an order assigning them as the Server on

my behalf.

THE COURT: Do you have a motion?

MR. SYPH: Well, obviously, you know, Judge, you
barred me from filing all motions and pleadings.

THE COURT: Excuse me. I'm going to Stop you
thore. I'm going to stop you there.

MR. SYPH: Okay.

THE COURT: You want leave to file a motion to
appoint a special process server?

MR. SYPH: Or 1 would ask that you accept this as

an oral motion.

MR. ELSTER: l don't know what Mr. Syph is talking
about. This is a now action. I'm not sure that the
case is -- is there a case pending other than the
divorce?

THE COURT: In this CaSe, Sir, or another case?

MR. SYPH: Another case.

THE COURT: Oh, l don't do that for you. The judge

that's assigned to that case is going to do that.

13

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1 MR. SYPH: Makes sense.
2 THE COURT: Thank you all.
3 MR. ELSTER: lf I may, Judge. Aside from the

4 support, there is the issue pursuant to your Honor'S

5 contempt order regarding the purge. l think there's no
6 dispute that the thousand dollars that was due on June
7 28th and the 5500 that was due on July Vth has not been
8 paid. That's separate and apart from the child

9 support. l don’t know if your Honor is going to

10 address that today.

11 THE COURT: No, 1 want to do it all at the same

12 time. I want to have the ruling for you before 1 do

13 that.

14 MR. ELSTER: So continue for ruling on Count Two of

15 the petition and for hearing.

16 THE CGURT: Yes. 1 want to get that ruling 1 owe
17 you and then we'll deal with all the things when I have
18 more time. l'll set aside a half hour because 1 just
19 had you on my status ca11 for compliance on the purge
20 today. lt wouldn't be fair to anybody if 1 rushed

21 through that.

22 MR. ELSTER: Okay.

23

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Exhibit C

“Notice and Proof of Delivery”

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After printing this label:

1. Use the 'Print' button on this page to print your label to your laser or inkjet printer.

2. Fold the printed page along the horizontal line.

3. Place label in shipping pouch and affix it to your shipment so that the barcode portion of the label can be read and scanned

Warning: lMPORTANT: TRANSM|T YOUR SH|PP|NG DATA AND PR|NT A MAN|FEST:

At the end of each shipping day, you should perform the FedEx Ground End of Day Close procedure to transmit your shipping data to FedEx. To do
so, click on the Ground End of Day Close Button. lf required, print the pickup manifest that appears A printed manifest is required to be tendered
along with your packages if they are being picked up by FedEx Ground. lf you are dropping your packages off at a FedEx drop off location, the
manifest is not required

Use of this system constitutes your agreement to the service conditions in the current FedEx Service Guide and applicable tariff, available upon request FedEx will
not be responsible for any claim in excess of $100 per package, whether the result of loss, damage, delay, non-delivery, misdelivery, or misinformation unless you
declare a higher value, pay an additional charge, document your actual loss and file a timely claim Limitations, including limitations on our liability, can be found in
the current FedEx Service Guide and applicable tariff apply. ln no event shall FedEx Ground be liable for any special, incidental, or consequential damages
including, without |imitation, loss of profit, loss to the intrinsic value of the package, loss of sale, interest income or attomey's fees. Recovery cannot exceed actual
documented loss. |tems of extraordinary value are subject to separate limitations of liability set forth in the Service Guide and tariff. Written claims must be filed
within strict time limits, see current FedEx Service Guide.

https://www.fedex.com/shipping/shipAction.handle?method=doContinue 1/1

 

 

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August 13,2018

Dear Customer:

The following is the proof-of-delivery for tracking number 772846933991.

 

Delivery lnformation:

 

Status: Deiivered Delivery location: 233 s. wAcKER DR. 84TH
FLOOFi
Chicago, |L 60606

Slgned for by: Slgnature on File Do|ivery date: Jul 31 , 2018 17:38

SeNioe type: FedEx Ground

Special Hand|ing:

NO SlGNATURE REQUlFlED
Proof-of-de|ivery details appear below; however, no signature is available for this FedEx Ground shipment because a
signature was not required.

 

Shipping |nfom'iation:

Tracklng number: 772846933991 Ship date: Jul 30, 2018
Weight: 1.0 |bs/O.5 kg

Recipient: Shipper:

Michelle Dworak CARLETON SYPH

Women's Divorce and Family Law Grou CARLETON SYPH

233 S. Wacker Dr. 84th Floor 848 Dodge Ave #426

CH|CAGOl lL 60606 US EVANSTON, lL 60202 US

Referenee Dworak 8_2_2018 Motions

Thank you for choosing FedEx.

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EASTERN DIVISION THOMAS a aRuToN
ci.ERi<, u.s. premier couRr

CARLETON B. SYPH II,

Plainti)ff ) Case No: 1118»cv-04821
v. ) Judge Mathew F. Kennelly
JUDGE EDWARD A. ARCE, ) Magistrate Judge M. David Weisman
JUDGE JOHN THOMAS CARR,

MICHELLE DWORAK of
Women’s Divorce & Family Law Group
by Haid and Teich LLF,

’\_/\/\./\./

Defendants

[NOTICE OF MOTION]

TO: MICHELLE DWORAK

_ WOMEN’S DIVORCE AND FAMILY

LAW GROUP by HAID & TEICH LLP
233 S WACKER DR SUlTE 84TH FLOOR
CHICAGO, IL 60606

PLEASE TAKE NOTICE that on B/(/?}/?D / Z'“ at § " 50 "'W°' ,or
soon thereafter as I may be heard, I shall appear before the Honorable Judge Mathew F.
Kennelly or any judge sitting in his or her stead in Courtroom 2"/ D 3 of the U.S.
Distn`ct Court of the Northern District of Illinois, Eastem Division, 219 South Dearborn St.,

Chicago IL and present the following motions attached hereto:

1. Motion to Amend COMPLAINT FOR DECLARATORY AND INJUNCT[VE
RELIEF filed 7/13/2018

2. Motlon to Assign Special Processes Server & To Enlarge Defendants Time to
Rospond

CERTIFICATE OF SERVICE

I herby certify that on 22 gag 25 /'& , I provided service to the person or persons listed

above by the following by FEDEX mund

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Case: 1:18-cv-O4821 Document #: 14 Filed: 03/14/

 

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After printing this |abe|:
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18 Page 21 of 32 PagelD #:452

 

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3. Place label in shipping pouch and affix it to your shipment so that the barcode portion of the label can be read and scanned

Warning: lMPORTANT: TRANSM|T YOUR SH|PP|NG DATA AND PR|NT A MAN|FEST:
At the end of each shipping day, you should perform the FedEx Ground End of Day Close procedure to transmit your shipping data to FedEx. To do
so, click on the Ground End of Day Close Buttonr lf required print the pickup manifest that appears A printed manifest is required to be tendered
along with your packages if they are being picked up by FedEx Ground |f you are dropping your packages off at a FedEx drop off location, the

manifest is not required

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Use of this system constitutes your agreement to the service conditions in the current FedEx Service Guide and applicable tariff, available upon request FedEx will
not be responsible for any claim in excess of $100 per package, whether the result of loss, damage, delay, non-delivery, misdelivery, or misinfonnation, unless you
declare a higher value, pay an additional charge, document your actual loss and file a timely claim. Limitations, including limitations on our |iability, can be found in
the current FedEx Service Guide and applicable tariff apply. in no event shall FedEx Ground be liable for any special, incidental, or consequential damages,
including, without limitation, loss of profit, loss to the intrinsic value of the package, loss of sale, interest income or attomey's fees. Recovery cannot exceed actual
documented loss. items of extraordinary value are subject to separate limitations of liability set forth in the Service Guide and tariff. Written claims must be died

within strict time |imits, see current FedEx Service Guide.

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Case: 1:18-Cv-O4821 Document #: 14 Filed: 08/14/18 Page 22 of 32 PagelD #:453

l'=e¢?£)cv

August 13,2018

Dear Customer:

The following is the proof-of-delivery for tracking number 772846834300

 

De|ivery lnfcrmation:

 

Status: De|ivered De|ivery |ocatlon: 50 E WASH|NGTON ST
Chicago, lL 60602

signed for br. FFRANTA De|ivery daile: Jui 31 , 2018 12:36

Service type: FedEx Ground

Special Hand|ing:

 

 

 

Shipplng informations

 

Tracking number: 772846834300 Ship date: Jul 30, 2018
Weight: 1.0 lbs/0.5 kg

Reciplent: Shipper:

Judge Edward A. Arce CARLETON SYPH

Circuit Court of Cook County CARLETON SYPH

50 W. Washington St. Rm. 2002 848 Dodge Ave #426

CH|CAGO, lL 60602 US EVANSTON, lL 60202 US

Referenoe Arce 8_2_2018 Motions

Thank you for choosing FedEx.

 

Case: 1:18-Cv-O4821 Document #: 14 Filed: 08/14/18 Page 23 of 32 PagelD #:454
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iN THE UNrrED sTATEs DISTRICT coURT lUL 3 il 2018

. FoR THE NoRTHERN DISTRlcT 0F iLLINOIs

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ASTERN DIVISION cu_=Rk u.s. oisri§g;%%um

 

CARLE'I`ON B. SYPH II,

V Plczintijjc ) Case No: l:l8-cv-O4821
. ) Jud e Mathew F. Kennell
JUDGE EDWARD A. ARCE, ) Maggistrate Judge M. David Weisman
JUDGE JOHN THOMAS CARR,
MICHELLE DWORAK of
Women’s Divorce & F amin Law Group
by Haid and Teich LLP,

\/\_/\./\_/

Defendan¢s

[NOTICE OF MOTION]

TO: JUI)GE EDWARD A. ARCE
Circuit Court of Cook County
50 W. Washington St., Rm. 2002
Chicago, Illinois 60602

PLEASE TAKE NoTICEchaton zi/Z/ ZO/ § at 7 . ' 5 0 Ave .Or

soon thereafter as I may be heard, I shall appear before the Honorable Judge Mathew F.

Kennelly or any judge sitting in his or her stead in Courtroom 02/ 0 2 of the U.S.

District Court of the Northem District of lllinois, Eastem Division, 219 South Dearbom St.,

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RELIEF filed 7/13/2018

2. Motion to Assign Special Processes Server & To Enlarge Defendants Time to
Respond

CERTIFICA'I'E ()F SERVICE

I herby certify that on 7/§? Z'/Z/I provided service to the person or persons listed

. above by the following by FEDEX Mnd

 

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7’3°’“"8 Case: 1:13-cv-04821 Documem §e‘iE¢i‘ is=rll°e“éf:"?)q§ll¢i')"l‘s°i%'a§§(§)¢i of 32 PagelD #:455

 

 

 

 

 

 

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2. Fold the printed page along the horizontal line.

3. Place label in shipping pouch and ai‘Hx it to your shipment so that the barcode portion of the label can be read and scanned.

Warning: iMPORTANT: TRANSM|T YOUR SH|PP|NG DATA AND PR|NT A MANIFEST:

At the end of each shipping day, you should perform the FedEx Ground End of Day Close procedure to transmit your shipping data to FedEx. To do
so, click on the Ground End of Day Close Button. if required, print the pickup manifest that appears. A printed manifest is required to be tendered
along with your packages if they are being picked up by FedEx Ground. lf you are dropping your packages off at a FedEx drop off location, the
manifest is not required

Use of this system constitutes your agreement to the service conditions in the current FedEx Service Guide and applicable taritt, available upon request FedEx will
not be responsible for any claim in excess of $100 per package, whether the result of loss, damage, delay, non-delivery, misdelivery, or misinformation unless you
declare a higher value, pay an additional charge, document your actual loss and file a timely claim. Limitations, including limitations on our liability, can be found in
the current FedEx Service Guide and applicable tariff apply. in no event shall FedEx Ground be liable for any special, incidenta|, or consequential damages,
including, without |imitation, loss of profit, loss to the intrinsic value of the package, loss of sale, interest income or attomey's fees. Recovery cannot exceed actual
documented loss. items of extraordinary value are subject to separate limitations of liability set forth in the Service Guide and tariii. Written claims must be tiled
within strict time limits, see current FedEx Service Guide.

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Case: 1:18-cv-O4821 Document #: 14 Filed: 08/14/18 Page 25 of 32 PagelD #:456

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August 13,2018

Dear Customer:

The following is the proof-of-de|ivery for tracking number 772846990623

 

Delivery |nfonnation:

 

Status: De|ivered De|ivery location: 50 E WASH|NGTON ST
Chicago, lL 60602

Signed for by: FFRANTA De|ivery date: Ju| 31 , 2018 12:36

SeNioe type: FedEx Ground

Special Handling:

 

 

 

Shipping |nfonnation:

 

Tracking numben 772846990623 Ship date: Jul 30, 2018
Weight: 1.0 lbs/O.S kg

Rocipient: Shipper:

Judge John Thomas Carr CARLETON SYPH

Circuit Court of Cook County CARLETON SYPH

50 W. Washington St Rm. 1608 848 Dodge Ave #426

CH|CAGO, |L 60602 US EVANSTON, |L 60202 US

Reference Juge Carr 8_2_2018 Motions

Thank you for choosing FedEx.

 

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HEGE\VE.'D
IN THE UNITED STATES DlSTRICT COURT nn q n pma
FoR THE NoRTHERN DisTRICT oF ILLINOIS "` ' '
EASTERN DIVISION rHoMAs o BRuToN

CLERK. U.S. DlSTRICT COURT
CARLETON B. SYPH II,

Plaintijf ) Case No: 1118-cv-04821
v. ) Judge Mathew F. Kennelly

JUDGE EDWARD A. ARCE, ) Magistrate Judge M. David Weisman
JUDGE JOHN THOMAS CARR, )
MICHELLE DWORAK of )
Women’s Divorce & Family Law Group _ )
by Haid and Teich LLP, )

Defendants

[NOTICE OF MOTION]

TO: JUDGE JOHN THOMAS CARR
Circuit Court of Cook County
50 W. Washington St., Rm. 1608
Chicago, Illinois 60602

PLEASE TAKE NoTICE that on 3/%"1/'2 0 /§'/ ar 7 F 3b 14 »- ,or
soon thereafter as I may be heard, l shall appear before the Honorable Judge Mathew F.
Kennelly or any judge sitting in his or her stead in Courtroom ?// 0 3 of the U.S.
District Court of the Northern District of lllinois, Eastern Division, 219 South Dearborn St.,

Chicago IL and present the following motions attached hereto:

l. Motion to Amend COMPLAINT FOR DECLARATORY AND INJUNCTIVE
RELIEF filed 7/13/2018

2. Motion to Assign Special Processes Server & To Enlarge Det`endants Time to
Respond

CERTIFICATE OF SERVICE

l hereby certify that on 22 HL fog Z , l provided service to the person or persons listed

above by the following by FEDEX g;ound

 

Case: 1:18-cv-O4821 Document #: 14 Filed: 08/14/18 Page 27 of 32 PagelD #:458

Exhibit D

See Exhibit D “Email to MSI”

 

8/14/2018r11i-al Special Process Server "Car|eton B Syph ll" summons

Case:1:18--cv 04821 Document #: 14 Filed: 08/14/18 Page 28 of 32 PagelD #: 459

M Gm§§l Bud Syph <greenerlaundry@gmail.com>

 

Special Process Server "Car|eton B. Syph |l" summons

 

Carleton Syph <greenerlaundry@gmai|.com> Thu, Aug 2, 2018 at 12:07 PM
To: nerdisa@detectiveservices.com, pedro@detectiveservices.com

See attached motion and order for special process server.

2 attachments

3 2018_ 7 _30_Motion for Special Process Server.pdf
1773K

:] 2018 _7 _31_Judge Kennelly Order of Special Process Server.pdf
3601K

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Case: 1:18-cv-O4821 Document #: 14 Filed: 08/14/18 Page 29 of 32 PagelD #:460

Exhibit E

“MSI Aff`ldavit”

Case: 1:18-cv-O4821 Document #: 14 Filed: 08/14/18 Page 30 of 32 PagelD #:461

UNITED STATES DISTRICT COURT

For the
NORTHERN DlSTRlC'I` OF lLLlNOIS

Carleton B. Syph ll

v. Case #: l:lS-cv-04821

Judge John Thomas Carr

Proof of Service Afi`idavit

 

 

Manin Mroz, being first duly sworn on oath deposes and says he is over 18 years of age, not
a party to the above suit and is a registered employee of the Illinois Department of
Professional Regulation Private Detective Agency #l l7-000206. Myers Service lnc., d/b/a
MSI Detective Services.

That he served a copy of the Summons in a Civil Action, Complaint for Declaratory and
Injective Relief, and all accompanying documents, on Judge John Thomas Carr, Daley
Center, located at. 50 W. Washington St., Room 2600, Chicago, lL 60602, on Friday,
August 03, 2018, at ll:55 a.m., by serving the documents on Casandra McKinney,
Administrative Assistant. who stated that she is authorized to accept the documents for
Judge John Thomas Carr. That the server informed Casandra McKinney of the contents
of the documents by stating. “This is a Summons and Complaint,” and that Casandra
McKinney continued that she understood and accepted the documents in hand.

Casandra McKinney is described as an African American female, approximately 40 years
of age, 5’5” in height, medium build, with black hair. and wearing glasses

%% /_

SPECIAL'PROCESS sERvERY€me)

Under penalties of perjury as provided by law pursuant to Section l-l09 of thc Code of Ci\'il ocedure. the undersigned
certifies that the statements set forth in this instrument are true and correct except its to matters therein stated to be on
information and belief and as such matters the undersigned certifies as aforesaid that he/she verily believes the same to be

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sPECrAL’ PRocEss sERveit signature
t',

 

Case: 1:18-cv-O4821 Document #: 14 Filed: 08/14/18 Page 31 of 32 PagelD #:462

UNITED STATES DISTRICT COURT

For the
NORTHERN DISTRlCT OF lLLINOIS

Carleton B. Syph ll
v. Case #: l:lS-cv-0482l

Judge Edward A. Arce

Proof of Service Afl`rdavit

 

 

Martin Mroz, being first duly sworn on oath deposes and says he is over 18 years of age, not
a party to the above suit and is a registered employee of the Illinois Department of
Professional Regulation Private Detective Agency #117-000206, Myers Service lnc., d/b/a
MSI Detective Services.

That he served a copy of the Summons in a Civil Action. Complaint for Declaratory and
lnjective Relief, and all accompanying documents, on Judge Edward A. Arce, Daley
Center, located at, 50 W. Washington St., Room 2600, Chicago. lL 60602, on Friday.
August 03, 2018, at 11:55 a.m., by serving the documents on Casandra McKinney,
Administrative Assistant, who stated that she is authorized to'accept the documents for
Judge Edwards A. Arce. That the server informed Casandra McKinney of the contents of
the documents by stating, “This is a Summons and Complaint,” and that Casandra
McKinney confirmed that she understood and accepted the documents in hand.

Casandra McKinney is described as an African American female, approximately 40 years
of age, 5’5” in height, medium build, with black hair. and wearing glasses.

sPECIA{L PRoCESs sER\Yignmure)

Under penalties of perjury as provided b_\ law pursuant to Section 1~109 ol` the Code ol il l’rocedure. the undersigned
certifies that the statements set forth in this instrument arc true and correct. except us to matters therein stated to be on
infon'nation and belief and as such matters the undersigned certifies as aforesaid that he.'she verily believes the same to be

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Case: 1:18-cv-O4821 Document #: 14 Filed: 08/14/18 Page 32 of 32 PagelD #:463

UNlTED STATES DISTRICT COURT

For the
NORTHERN DISTRICT OF ll_.LlNOlS

Carleton B. Syph ll
v. Case #: 1:l8-cv~04821
Miche|le Dworak

Women's Divorce & Family Law Group
By Haid and Teich LLP

 

Martin Mrogl being first duly sworn on oath deposes and says he is over 18 years of age, not a party to the above suit
and is a registered employee of the illinois Department of Professional Regulation Private Detective Agency #|17-
000206, Myers Service lnc., dfb/a MSl Detective Services.

l. That he made the following attempts to serve a copy of the Summons in a Civil Action, and Complaint for Dec|aration
and injunctive Relief, on the within named lndividual, Miche|le Dworak:

Il. That he attempted to serve the within named individual on the following date and time:

at the following address: 233 S. Wacker Ave., 84"' Floor, Chicagoa IL 60606

Friday, August 3a 2018 at 3: 45 p. m. -That this property is described as a high rise commercial building and the known
place of business, for Miche|le Dworak of Women’ s Divorce & Family Law Group. That the server was denied access
to Ms. Dworak’s off ce by the front desk security. That the front desk security phoned upstairs to Ms. Dworak’ s office
and was told that Miche|le Dworak was not in, and there was no one authorized to accept.

Monday, August 6, 2018 at 10:30 a.m. - That the server returned to Ms. Dworak`s office, in an attempt to deliver the
following documents. Once again, the server was denied access to the office, and the front desk security phoned
Women’s Divorce & Family Law Group and advised the server that he was told that they will not be coming down to
accept the documents.

That MS| Detective Services inside staff further phoned the Women s Divorce & Family Law Group explaining rn detail
that we had legal documents for Miche|le Dworak and that the server was in the |obby, waiting for either Miche|le
Dworak or an authorized individual to come down and accept the documents That the receptionist of Women` s Divorce
& Family Law Group. who refused to provide her name, stated that site was told, by the partner of the firm, to not allow
the server access to the office and to not go down to accept the documents.

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Under penalties of perjury as provided by law pursuant to Section l~ l09 of the Code of Civil Procedure, the undersigth certifies t statements set forth in this
instrument are true and correct. except as to matters therein stated to be on information rrnd belief and as such matters the undersigned cent as aforesaid that he/she \'erily

helie\ cs the same to he true % M

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